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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.
                                                            Crim. No. 17-cr-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                  Defendant.



                                JOINT PRETRIAL STATEMENT

         Pursuant to the Court’s Scheduling Order entered March 1, 2018 (Doc. 217, at 2–3), the

government hereby submits a joint pretrial statement. The defendant’s position was communicated

by email to the government on the afternoon of August 24, 2018 and is set out in each respective

portion of the submission.

a)       Joint Statement of the Case

         A proposed joint statement of the case for the Court to read to prospective jurors is attached

to this submission as Exhibit A. The government transmitted the proposed joint statement of the

case to defense counsel on July 23, 2018 as part of its proposed jury instructions and separately

sent the proposed statement of the case to defense counsel in a standalone email on July 27, 2018.

     •   Defendant’s position: “Defendant objects to the description of the FARA violation (bullet

         point 3) and suggests that it should read: ‘Between approximately 2008 and 2014 failing

         to register as an agent of a foreign principal in violation of FARA (Count Three).’” The

         defendant agrees to the remainder of the proposed joint statement of the case.




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b)        Estimate of the Number of Trial Days

          The government anticipates that its case-in-chief will last approximately ten to twelve trial

days.

      •   Defendant’s position: “Defendant has not determined whether he will present a defense

          case. Any defense case will require between three to four trial days.”

c)        List of Outstanding Motions in Limine

          Both parties filed their motions in limine on July 9, 2018 (Doc. 341 & 343) and responses

to the motions on July 23, 2018 (Doc. 360 & 361). The government has sought leave to supplement

its motions in limine in light of proceedings in the Eastern District of Virginia. (Doc. 366, 381,

and 382). The following motions in limine are outstanding:

          Government’s Motions

(1)       The government’s motion in limine for an order precluding “argument or evidence at trial

          (1) concerning selective or vindictive prosecution or the motive and mandate of the

          Department of Justice office leading this prosecution, or (2) suggesting that any

          government investigation into Manafort that preceded the Special Counsel’s appointment

          ended with a decision not to prosecute him.” (Docs. 341 & 381).

(2)       The government’s motion in limine for an order precluding the defendant from presenting

          argument at trial, or soliciting evidence concerning, (a) the absence of a civil Internal

          Revenue Service audit of Manafort or his companies or (b) the absence of any civil Foreign

          Agents Registration Act action against Manafort or his companies, or suggesting that such

          civil audits or actions were necessary or that the absence of such civil audits or actions was

          improper, indicative of a lack of evidence of a crime. (Doc. 366).




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(3)   The government’s motion in limine seeking to admit evidence that two U.S. businesses,

      Davis Manafort Partners, Inc. and DMP International, LLC, never filed FBARs for the

      foreign bank accounts identified in the superseding indictment. (Doc. 382).

      Defendant’s Motions

(1)   The defendant’s motion in limine seeking to preclude evidence or argument concerning

      Mr. Manafort’s role with the Trump campaign and allegations related to purported

      collusion with the Russian government. (Doc. 343, at 1–3). The government has raised a

      limited objection to the motion. (Doc. 360, at 2–4).

(2)   The defendant’s motion in limine seeking to preclude evidence or argument about the

      charges brought in United States v. Manafort, No. 1:18-cr-83 (E.D.V.A.). (Doc. 343, at 3–

      5). The government has raised a limited objection to the motion. (Doc. 360, at 4–5). The

      government also notes below that it intends to introduce the defendant’s convictions for

      purposes of impeachment, pursuant to Federal Rule of Evidence 609.

(3)   The defendant’s motion in limine seeking to preclude evidence or argument about the

      defendant’s remand to the custody of the U.S. Marshal Service pending trial. (Doc. 343,

      at 5). The government has no objection to the motion. (Doc. 360).

(4)   The defendant’s motion in limine seeking to preclude testimony and evidence from

      attorneys who “provided Mr. Manafort with FARA related advice and represented him in

      interactions with the U.S. Department of Justice’s FARA office.” (Doc. 343, at 6). The

      government has set forth its objection, noting that the defendant’s purported claim of

      privilege has been considered and rejected by Chief Judge Howell. (Doc. 360, at 5–8).




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d)       Proposed Jury Instructions

         A copy of the government’s proposed instructions (including instructions from the

Standardized Criminal Jury Instructions for the District of Columbia) is attached to this submission

as Exhibit B. A copy of the government’s proposed instructions was sent to defense counsel on

July 24, 2018. A copy of the government’s proposed special jury instructions is attached to this

submission as Exhibit C.1 A copy of these proposed instructions was sent to defense counsel on

July 23, 2018.

     •   Defendant’s position: “Defendant objects to the instructions submitted by the government

         identified in the list below. Defendant will file a separate pleading as soon as possible

         addressing those objections and requesting changes or additional instructions:

                 Instruction No. 1                    Instruction No. 26
                 Instruction No. 2                    Instruction No. 27
                 Instruction No. 13                   Instruction No. 28
                 Instruction No. 14                   Instruction No. 29
                 Instruction No. 15                   Instruction No. 32
                 Instruction No. 16                   Instruction No. 33
                 Instruction No. 17                   Instruction No. 34
                 Instruction No. 18                   Instruction No. 46
                 Instruction No. 19                   Special Instruction No. 1
                 Instruction No. 20                   Special Instruction No. 2
                 Instruction No. 21                   Special Instruction No. 3
                 Instruction No. 22                   Special Instruction No. 4
                 Instruction No. 23                   Special Instruction No. 5
                 Instruction No. 24                   Special Instruction No. 6”
                 Instruction No. 25




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  These special instructions address certain legal requirements imposed by the Foreign Agent
Registration Act (“FARA”) (22 U.S.C. § 612 et seq.), the Lobbying Disclosure Act (“LDA”) (2
U.S.C. § 1601 et seq.), and associated regulations issued pursuant to and implementing both
federal laws.
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The defendant indicated that he does not object to instructions 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 30, 31,

35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, and 57, as

submitted in Exhibit B.

e)       List of Expert Witnesses

         The government’s notice of expert testimony is attached as Exhibit D. The government

gave this notice to the defendant on July 13, 2018.

     •   Defendant’s position: “To the extent the defendant decides to present a defense case,

         defendant anticipates presenting the testimony of expert witnesses in the following areas:

         (1) money laundering and (2) the Foreign Agent’s Registration Act. Defendant is still in

         the process of identifying and retaining experts.       Defendant will provide additional

         information when it becomes available.”

f)       List of Prior Convictions

         Pursuant to Federal Rule of Evidence 609(a)(2), should the defendant testify in the

upcoming trial, the government intends to offer for purpose of impeachment the defendant’s prior

convictions in the case United States v. Manafort, No. 1:18-cr-83 (E.D. Va.), including his

convictions on five counts of filing of false individual income tax returns (in violation of 26 U.S.C.

§ 7206(1)); one count of failing to file a report of a foreign bank and financial account (in violation

of 31 U.S.C. §§ 5314 and 5322(a)); and two counts of bank fraud (in violation of 18 U.S.C.

§ 1344). The government hereby gives notice as required under Federal Rule of Evidence

609(b)(2).

g)       List of Exhibits

         A copy of the government’s exhibit list is attached to this submission as Exhibit E, and the

government has delivered copies of the exhibits to the Court’s chambers as directed in the



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Scheduling Order. Given the voluminous nature of the exhibits, the government has included draft

summary exhibits that it intends to offer pursuant to Federal Rule of Evidence 1006. The

government will submit to the Court revised summary exhibits at a later date in advance of trial.

The government requests the Court’s permission to amend its exhibits in advance of trial as needed

during the course of trial preparation. The summary exhibits are Government Exhibits 81, 90, 304,

308, 318, 319, 325, 335, and 400-46.

        Beginning in mid-July 2018, the government identified its trial exhibits to defense counsel

on a rolling basis. 2 The government identified its trial exhibits (from previously produced

documents) in six tranches, which were sent to defense counsel on July 19, 2018; July 20, 2018;

July 23, 2018; July 24, 2018; July 28, 2018, all in anticipation of an August 1, 2018 submission of

the Joint Pretrial Statement. For ease of reference, an August 21, 2018 transmission combined the

prior transmissions into a single exhibit list with relevant updates, including eliminating various

exhibits pursuant to the Court’s Minute Order.

        On the evening of August 23, 2018, the defendant requested that the government reproduce

all of its exhibits in electronic format. The government arranged for defense counsel to pick up an

electronic copy of the exhibits at 8:45 AM on August 24, 2018.

    •   Defendant’s Position: On the afternoon of August 24, 2018, the defendant wrote to the

        government:

               The defendant received the government’s most recent exhibit list
               containing more than 1500 marked exhibits on August 22, 2018. In
               order to assist the defendant in reviewing the proposed exhibits, at
               the defendant’s request, the government provided electronic copies
               of the exhibits on August 24, 2018. Defendant and his counsel

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  In each correspondence, the government identified the exhibits by Bates number, date of the
document, and the source of the exhibit. The government also provided a short description of the
exhibit to counsel, and, where applicable, a cross-reference to the equivalent Eastern District of
Virginia exhibit number.
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                require additional time to review the government’s proposed
                exhibits in order to lodge appropriate objections. At this time,
                defendant objects to all of the government’s proposed exhibits as to
                authenticity and admissibility. Defendant will provide the Court
                with a more detailed recitation of objections by exhibit as soon as
                possible.

                [. . .]

                The defense has not yet identified exhibits that may be used in cross-
                examination and will not be able to identify exhibits that may be
                used in any defense case-in-chief until after the government presents
                its case-in-chief.

h)       Stipulations

         A copy of the government’s proposed stipulations are attached as Exhibit F.               The

government transmitted the first of these stipulations on July 23, 2018. The government notes that

many of these stipulations are the same in substance to those agreed to by the defendant and the

government in United States v. Manafort, No. 1:18-cr-083 (E.D.V.A.).

     •   Defendant’s Position: “The government has provided the defendant with approximately 23

         proposed stipulations for review. At this time, there are no agreed upon stipulations.”

i)       Judicial Notice

         As described above, the government has submitted a proposed series of special jury

instructions, attached to this submission as Exhibit C. These special instructions address certain

legal requirements imposed by FARA, the LDA, and associated regulations implementing both

federal laws.

         Alternatively, the Court could take judicial notice of the same legal and regulatory

requirements pursuant to Federal Rule of Evidence 201. See, e.g., United States v. Titus, 475 F.

App’x 826, 834–35 (4th Cir. 2012) (affirming, in a federal fraud case, district court taking judicial

notice of “certain Virginia rules and statutes,” including the Virginia Consumer Real Estate



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Settlement Protection Act and “associated state regulations, which imposed duties on Titus”); see

also United States v. Montgomery, 896 F.3d 875, 879 (8th Cir. 2018) (noting, with respect to the

fact that U.S. Food and Drug Administration regulations prohibit sale of health foods with hemp

seeds and hemp oil containing THC, that “if challenged, the government could have established

this regulatory fact by judicial notice”); Staehr v. Hartford Fin. Servs. Group, Inc., 547 F.3d 406,

425 (2d Cir. 2008) (“[I]t is proper to take judicial notice of the fact that . . . regulatory filings

contained certain information, without regard to the truth of their contents”); United States v.

Knauer, 707 F. Supp. 2d 379, 400 (E.D.N.Y. 2010) (“It is undoubtedly within this Court’s

authority to take judicial notice of agency regulations, including those issued by an administrative

subunit.”).

     •   Defendant’s Position:     The defendant objects to these special jury instructions (or,

         alternatively, the Court’s taking judicial notice). See supra Section (d) (position on Special

         Instructions 1–6).

j)       Proposed Verdict Form

         A copy of the government’s proposed verdict form is attached as Exhibit G.

     •   Defendant’s Position: No proposed verdict form given.

                                                Respectfully submitted,

                                                ROBERT S. MUELLER, III
                                                Special Counsel

Dated: August 24, 2018                  By:     _/s/ Andrew Weissmann________________
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